                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA


E.L.K., by and through his Parent and            Civil File No. 14-cv-4273 (MJD/LIB)
Natural Guardian, E.K.,

                  Plaintiffs,                     DEFENDANT’S MEMORANDUM
                                                  IN SUPPORT OF MOTION FOR
v.                                                JUDGMENT ON THE
                                                  ADMINISTRATIVE RECORD AND
Minneapolis Public Schools,                       IN SUPPORT OF MOTION TO
Special School District No. 1,                    DENY PLAINTIFFS’ PETITION
                                                  FOR ATTORNEY FEES AND
                  Defendant.                      COSTS


                                    INTRODUCTION

         Minneapolis Public Schools, Special School District No. 1 (“Minneapolis” or “the

District”), submits this Memorandum of Law in Support of its Motion for Judgment on

the Administrative Record and in Support of its Motion to Deny Plaintiff’s Petition for

Attorney Fees and Costs under the Individuals with Disabilities Education Act

(“IDEA”).1

         This is a partial appeal of an Administrative Law Judge (“ALJ”) decision under

the IDEA. The ALJ correctly determined that the E.L.K. (“EK” or “Student”) had been

provided a free appropriate public education (“FAPE”) and that the District’s evaluation

of EK was appropriate. Minneapolis does not appeal those parts of the decision.

However, after determining that Minneapolis had conducted an appropriate evaluation

and provided EK a free appropriate public education, the ALJ ordered Minneapolis to

1
    20 U.S.C. §1401 et seq.
                                                                                           1
provide compensatory education. The award of compensatory education was an error

and Minneapolis appeals that part of the decision.

       The Plaintiff does not appeal any part of the ALJ’s decision. Plaintiff instead

brings an action for attorneys’ fees associated with the administrative hearing. Plaintiff’s

petition for attorney fees and costs should be denied. Plaintiff was not the prevailing

party at the administrative hearing. The ALJ ruled in favor of the District on the two

primary issues at hearing (evaluation and FAPE), and the ALJ’s award of compensatory

education must be reversed because it is not supported by the facts or law.

       Our memorandum consists of a statement of procedural posture, summary of

relevant facts, legal analysis and a conclusion.

I.     PROCEDURAL POSTURE

       On May 5, 2014, the Plaintiff (“Plaintiff” or “the Parent”) requested a due process

hearing under the Individuals with Disabilities Education Act and Minn. Stat. §125A.091

subd. 14, against Minneapolis alleging that the District had denied her son, EK, a free

appropriate public education. Plaintiff sought compensatory education, an independent

educational evaluation, and a change in the location of EK’s educational services.2

       The ALJ set the following issues for hearing:

       1. Whether the School District provided Student a Free Appropriate Public
          Education (FAPE) since May 5, 2012. In particular:

          a. Was the October 2011 evaluation of Student sufficiently comprehensive to
             identify all of EK’s special education and related services?


2
 September 12, 2014 Findings of Fact, Conclusions of Law, and Order, p. 3, hereinafter
“Decision at ____”.
                                                                                          2
          b. Was the use of “SAIL” data system criteria and measurements to set and
             measure IEP achievement goals and progress appropriate?

          c. Was Student’s IEP team required to include a qualified ASD teacher?

          d. Was there a failure to communicate and cooperate with Student’s mother
             and her advisors that denied Student’s mother’s right to participate in EK’s
             education?

       2. Whether Student’s mother forfeited the right to an Independent Educational
          Evaluation (IEE)?

       3. Whether the School District unilaterally changed Student’s placement through
          a pattern of suspensions and exclusions that totaled more than ten school days
          in one school year. If so, did it cause Student a loss of educational benefit
          entitling him to compensatory education?

Decision at 1-2, Statement of Issues.

       A hearing was conducted on four days in July 2014.3 The Parent called seven

witnesses and Minneapolis conducted direct examination of five witnesses.4 The

evidence at hearing established that EK made both academic and behavioral progress

while a student in the District.5 The ALJ ruled in favor of Minneapolis as to the issue of

FAPE, concluding that Minneapolis had provided EK a free appropriate public

education.6 The ALJ also ruled in favor of Minneapolis on the issue of the sufficiency of

the District’s evaluation, concluding that Minneapolis conducted an appropriate

evaluation of EK and Plaintiff was not entitled to an independent educational evaluation.7


3
  Id. at 3, Finding of Fact 8.
4
  Id. at 4, Finding of Fact 9.
5
  Decision at 7-8, Findings of Fact 22, 27, 28; at 12, Finding of Fact 44; at 17, Findings of
Fact 59, 60.
6
  Decision at 7-8, Findings of Fact 22, 27, 28; at 12, Finding of Fact 44; at 17, Findings of
Fact 59, 60.
7
  Decision at 7, Conclusion of Law 7.
                                                                                             3
The only issue on which the ALJ ruled in favor of the Parent was whether EK’s 12 days

of suspension in a school year caused him a loss of educational benefit. Completely

contrary to his determination that the Student received a FAPE, the ALJ found that the

Student suffered loss of educational benefit because he was suspended more than ten (10)

days in one school year. As to this issue, the ALJ ruled in favor of the Parent and

Minneapolis now appeals that ruling.

       Minneapolis specifically appeals Conclusions Number 9 and 10. In Conclusion

Number 9, the ALJ citing federal regulations determined that a unilateral change of

placement occurred when the Student’s suspensions totaled more than ten (10) days in

one school year. The ALJ’s statement of the law is incorrect and he failed to cite to any

evidence to support that the Student sustained educational harm and had been denied a

free appropriate public education. As compensatory education, Conclusion Number 10

required Minneapolis to retain Dr. Kristen Wiik for the 2014-2015 school year to assist

the Individual Education Program (“IEP”) team “in evaluating EK and designing and

amending Student’s IEP…”. Again, this award is contrary to the finding that

Minneapolis had properly evaluated the Student and no further evaluation was warranted.

Minneapolis appeals the ALJ Decision on the grounds that the ALJ made factual and

legal errors and exceeded his authority by ordering Minneapolis to retain Dr. Wiik when

the ALJ had already determined that Minneapolis had provided EK a free appropriate

public education.




                                                                                            4
II.    SUMMARY OF RELEVANT FACTS8

       EK is a child with a disability eligible for special education under the categories of

Autism Spectrum Disorders (“ASD”) and Emotional Behavioral Disorder (“EBD”). His

Individual Education Program (“IEP”) calls for him to be educated in a federal setting IV

school- a separate, public day school.9 The relevant time period in this case is the two

year period that began with the hearing request; from May 2, 2012 to May 2, 2014.10

However, contextually it is important to review EK’s educational history in some detail.

       A.     Pre-School and Elementary Special Education Services.

       EK has received special education services since pre-school. He had challenging

behaviors in his early school years including hitting teachers and other students and being

oppositional.11

       In the fall of 2005, when EK was a first grader attending the District’s Bancroft

Elementary School, he was evaluated by Hennepin County Medical Center and he did not

meet the criteria for Attention Deficit Hyperactivity Disorder (“ADHD”).12 His cognitive

testing placed him at the extremely low to borderline range.13 He did not meet the

criteria for pervasive development disorder (“PDD”) at that time either.14 He was

diagnosed with Oppositional Defiant Disorder (“ODD”) and mild mental retardation.15


8
  The Relevant Facts are taken largely from the ALJ’s Findings of Facts.
9
 Exhibit (hereinafter “Ex. __”) 29; Ex. 265.
10
   See 20 U.S.C. § 1415 (f)(3)(c), 20 U.S.C. § 1415 (b)(6)(B).
11
   Ex.114, p.2; Ex. 226.
12
   Ex. 117, pp.3, 7; Ex. 204.
13
   Id. at p.7.
14
   Id.
15
   Id. at p.8.
                                                                                            5
       EK was evaluated by Park Nicollet Clinic in April of 2008 and was found to meet

criteria for PDD.16 The District conducted a re-evaluation of EK’s special education

needs at that time at his mother’s request.17 She wanted to determine whether he met the

educational criteria for Autism Spectrum Disorder. Initially, he did not but another

evaluation was done in November of 2008 and he qualified for services under ASD. 18

As a result, the IEP team, including EK’s mother, agreed that he should attend an ASD

program at the District’s Jefferson Elementary School.19 EK began there in January of

2009.20 EK remained there until the end of fifth grade prior to starting middle school. EK

transitioned to middle school with his peers.

       B.     May 4, 2012 to end of 7th Grade.

       From May 2, 2012 to June 5, 2012, EK was in the seventh grade in a middle

school SPAN classroom.21 SPAN is a setting III special education program.22 A SPAN

classroom is a special education classroom in a general education building.23 It is a

program for students with significant emotional and behavioral needs.24

       C.     October, 2011 Evaluation.




16
   Ex. 114, p.2. PDD is part of the Autism spectrum.
17
   Ex. 27, p.128.
18
   The educational criteria for ASD are found at Minn. R. 3525.1325.
19
   Id.
20
   Id.
21
   Ex. 1, Exs. 8, 9. The Plaintiff requested a due process hearing on May 2, 2014 and the
relevant period of time in this hearing is May 2, 2012 to May 2, 2014.
22
   Hearing Transcript, p.573, ll.17-19 (hereinafter “T.__, l.__”).
23
   Id. at 23.
24
   Ex. 27, p.123.
                                                                                         6
       At the beginning of his seventh grade year, EK had a re-evaluation which was

completed on October 14, 2011.25 The evaluation indicated that EK scored in the low to

very low range compared to same age peers on academic achievement tests.

       The evaluation also reported a history of problematic behaviors in school

including refusing adult direction; bullying, teasing and hitting peers; hitting or shoving

special education staff; and leaving his assigned area.26 A functional behavior

assessment was conducted as part of the evaluation.27 As a result, EK had a behavior

intervention plan aimed at decreasing his challenging behaviors and teaching him

positive skills such as self-talk when a situation is challenging and learning how to

respectfully disagree or make complaints.28

       EK’s progress reports at the end of the 2011-2012 school year show that he

maintained appropriate speech about 75% of the time, he increased his ability to be in his

seat or the right area in school from 82% to 97% of the time and he engaged in

appropriate behavior about 91% of the time.29

       D.     Eighth Grade (2012-2013 School Year).

       EK attended the SPAN program at the District’s Anderson School as an eighth

grader during the 2012-2013 school year. SPAN is a setting III special education

program.30


25
   Ex. 114.
26
   Id. at p.6.
27
   Id. at pp.7-9.
28
   Id. at pp.7-9.
29
   Ex. 8, Ex. 9, Ex. 220.
30
   T.573, ll.17-19.
                                                                                              7
       EK’s IEP team met on October 10, 2012.31 At that point in the school year EK

continued to use inappropriate speech – sometimes threatening others or cussing and his

time on task with learning was a concern because he struggled to complete work, gave up

easily and did not always want to try academic work.32 His IEP team, including his

mother, determined that the setting III placement continued to be appropriate for him.33

In grade eight, EK had a decrease in his ability to speak appropriately at school (74%),

act appropriately (86%) and a significant decrease in his time engaged in learning

(66%).34 His case manager noted that his anger was very concerning.35 In response, the

District changed EK’s classroom from a mixed 7th/8th grade group to all 8th grade

students.36 The school staff reported that EK had more success with processing, taking

responsibility for his actions and self-regulating his behavior after the District changed

his classroom.37 His mother agreed the change in classroom was a positive move.38

       Given these changes and the year long special education support, EK made

progress in his eighth grade year. His teachers reported that he was a “…good speller

(6th/7th grade level), good at fractions, can multiply and divide but struggles with negative

and positive integers, equations (algebra).”39 EK’s progress report of October 10, 2012

confirmed that progress. He was reading 110 words per minute, “a small gain” from his

31
   Ex. 13.
32
   Id.
33
   Id.; T.574, ll.3-9.
34
   Id.
35
   Id.
36
   Id.
37
   Id.
38
   Ex. 14, p.2.
39
   Ex. 12.
                                                                                             8
earlier 108 words per minute.40 He had an increase in vocabulary and context in

reading.41 He improved in using capitalization in his writing.42 The IEP team prepared a

new IEP reflecting EK’s academic needs.43 His mother agreed with the plan.44

              1.     Placement by Parent at Community Program – LifeSpan Day
                     Treatment.

       In December of his eighth grade year, the Parent removed EK from the District

and placed him in a private day treatment program, Lifespan Day Treatment Program,

located in Burnsville, Minnesota.45 LifeSpan is a private, for profit day treatment

program rather than a school setting.46 EK was discharged after only a few weeks

because he engaged in a physical fight with another student.47 LaMadrid Wilson, a

licensed school social worker who worked with EK’s IEP team, testified that “talk

therapy” such as that employed at LifeSpan is not supported by the current research for

students with ASD characteristics.48 Dr. Kristen Wiik, a pediatric neuropsychologist who

evaluated EK in May of 2013, testified that she would not have recommended cognitive



40
   Ex. 15.
41
   Id.
42
   Id. at p.2.
43
   Ex. 13.
44
   Ex. 14.
45
   T.409, ll.8-10.
46
   T.539, ll.15-19. During the period of time that EK attended LifeSpan, the District
offered to provide education to EK; however, he was discharged from LifeSpan before
that was agreed to by the Parent. (See Ex. 16) Minnesota Rule provides that an average of
one hour per day for one to one instruction should be provided for students in homebound
settings. (See Minn. R. 3525.2325, subd. 5D) The District offered this programming but
was prevented from delivering it when EK was terminated early from LifeSpan.
47
   Ex. 17; T.353, ll.21-25 – T.354, ll.1-18.
48
   T.354.
                                                                                          9
or “talk therapy” for EK when she did the evaluation because of his cognitive

difficulties.49

        Upon his discharge from LifeSpan, EK’s IEP team met and discussed increasing

his time in special education to a full day program in a separate school- a setting IV

program.50 However, EK and his mother wanted him to return to the setting III program

at Anderson SPAN. The team, including the Parent, agreed to this.51 The IEP team also

discussed and agreed to conduct another Functional Behavioral Assessment (“FBA”).52

                  2.   Second Functional Behavioral Assessment (FBA) April 8, 2013.

       The FBA report documented that during the first quarter of EK’s eighth grade

school year (2012-2013 school year), EK was speaking appropriately 75% of the day,

acting appropriately 90% of the school day and in place 89% of the day.53 EK was

engaged in learning 82% of the day. From November 5, 2012 to December 3, 2012,

EK’s behavior declined.54 On average he was speaking appropriately only 74 % of the

time, acting appropriately 85% of the time and engaged in learning only 66% of the

school day.55 After he returned to Anderson SPAN from LifeSpan on January 25, 2013,

his behavior continued to trend downward. From January to March 22, 2013, EK was




49
    T.556-557.
50
    Ex. 17, p.71.
51
    Id. at p.69; T.574, l.11.
52
    Id.; Ex. 22, p.82; Ex. 24.
53
   Ex. 27, p.125.
54
   Id.
55
   Id.
                                                                                         10
speaking appropriately only 74% of the day, and his percentage for being engaged in

academic learning had gone down to 62%.56

       During the first four months of the 2012-2013 school year, EK had 47 major

behavioral incidents and after returning from Lifespan he had 26 additional major

behavioral incidents.57 Despite having 73 major incidents, EK was only suspended for

9.03 days.58 His suspensions were for things like slapping another student in the face,

repeatedly pushing staff after making harassing comments, throwing chairs at students or

staff, severe provoking comments and harassment followed by physical aggression or

threats of physical violence toward staff or students.59 The FBA recorded that EK

exhibited talking out and noise related behaviors at a rate of 30 to 60 times per hour.60

              3.     New Placement and New Behavior Plan.

       The IEP team, including EK’s mother, reviewed the FBA results and agreed that

EK needed more support to be successful in school.61 The IEP team then drafted an IEP

for a setting IV program,62 and developed a new behavior intervention plan that was

provided to the Parent.63 Angela Davis, EK’s county assigned case manager64, was


56
   Id.
57
   Id.
58
   Id.
59
    Id.
60
    Id. at p.129.
61
    Ex. 27, p.130.
62
   Ex. 29.
63
   Ex. 31, T.436, l.13.
64
    Ms. Davis holds a BA from St. Cloud State. She holds no professional license. She
worked for Power of Relationships, a private company that provides children’s mental
health case management services via contract with Hennepin County. See T.426-427. At
the time she had worked with EK for a year and a half. Id.
                                                                                            11
present for this IEP team meeting and she testified that she and the rest of the team

agreed that EK should be educated in a setting IV program.65 EK’s mother strongly

advocated for the move to a setting IV program and she signed her permission for the

move to a setting IV program at River Bend for the remainder of EK’s eight grade year.66

              4.     River Bend Setting IV Program April 2013-June 2013.

       EK made academic and behavioral progress while at River Bend.67 He had no

behavioral incidents at River Bend, and did well with a point system that used tangible

rewards like earning points to “buy” items at the school store or earning time on the

computer.68 His mother and his Ms. Davis affirmed that the Student worked for points so

that he could earn IPad or computer time and rewards from the school store. Id.

       EK’s progress report at the end of that school year, dated June 3, 2013, showed

progress. It indicates an increase in reading fluency from 110 words per minute in grade

seven69 to 127 words per minute at the end of grade eight.70 EK also was verbally

appropriate 90% of the day and physically appropriate more than 97% of the day.71




65
   T.574, ll.16-19.
66
   Ex. 30, Ex. 31; T.348, ll.3-24.
67
   T.381, l.25; T.382, ll.1-7.
68
   T.447, ll.4-17; T.575, ll.5-14; T.451, ll.17-19; T.597; see also Ex. 255 [3/15/2013
meeting - Ms. Davis reports that EK “buys into” the point store, computer and IPAD
time]; see also Ex. 29 [Ms. Davis reporting on 4/9/2013 that EK responds well to
incentives like the point store.]
69
   Ex. 15.
70
   Ex. 24.
71
   Id. at p.160.
                                                                                          12
While EK was generally physically appropriate during his time at River Bend, he did

have a major incident where he threw a desk.72

       E.      Ninth Grade at Harrison (2013-2014 School Year).

       EK moved to a high school program along with his peers for ninth grade in the

2013-2014 school year.73 He attended Harrison Education Center, a setting IV special

education high school.74 Harrison is a state of the art high school with facilities that are

equal or better than the District’s other high school buildings.75 Harrison is less than ten

years old and was built specifically to meet the needs of students with disabilities.76 The

school’s facilities include a full gymnasium, cafeteria, media center, science labs, and

equivalent technology to other high schools including computers and smart boards.77

Harrison also has a PAES lab that was designed to provide students with vocational

opportunities and training.78 Harrison has a coffee shop where students can learn real life

work skills by applying for a position and working on campus to develop work skills.79

               1.     Research Based Programming; SAIL Data Collection System.

       The educational program at Harrison is research based. The staff at Harrison use

the SAIL Data Collection System, a well-researched approach to data collection that




72
   Id.
73
   T.575, ll.17-19.
74
   T.87, ll.8-10.
75
   T.867, l.13.
76
   T.852, l.25 – T.854, ll.1-2.
77
   Ex. 119, pp.1-13, 17-19.
78
   Ex. 119, pp.114-116.
79
   Ex. 4; T.104, ll.14-25.
                                                                                               13
allows staff to collect information about students’ behaviors.80 The system is known as

the SAIL data collection system and fosters pro social behaviors; Speaking appropriately,

Acting appropriately, being In place and Learning.81

       Harrison has adopted the District’s curriculum for general education students.82

Harrison teachers are generally “highly qualified” (meaning have licensure in the subject

they teach as well as special education licensure).83 Harrison also has work experience

classes to the general curriculum available to all students.84

              2.      Behavior Management System.

        Harrison has a well-defined behavior management program with well-defined

behavioral expectations for students.85 All staff are trained on the program and staff

expectations were also made very clear.86 The behavioral program at Harrison and at

River Bend includes a “point and level system”.87 This allows students to gain

independence as they increase appropriate behaviors.88 Expectations are shared with the

students.89

              3.      Social Skills Instruction.




80
   T.855, ll.2-8.
81
   T.855, ll.18-25.
82
   T.852, ll.15-25.
83
   T.862, l.21.
84
   T.877.
85
   T.852, ll.15-19.
86
   Id.
87
   T.861, ll.7-25; T.557-558.
88
   T.861, ll.7-25; T.557-558; T.57, ll.2-4; T.59, ll.14-19.
89
   T.869, ll.3-24.
                                                                                          14
       Social skills instruction at Harrison is embedded in what is going on in the

classroom and the building throughout the school day.90 Research suggests that

embedding the teaching in the day is more effective than teaching a skill in isolation.91

For example, after providing some direct instruction in how to resolve conflict with a

peer, a teacher may identify a low-level, non-emotional issue that two students are having

and help them use the conflict resolution skill and later help them use that skill in a larger

issue in another environment.92

              4.      Mental Health Support.

       Mental health support is available at Harrison, starting with a safe, predictable

classroom.93 The mental health supports are built on the response to intervention model.

In addition to safe, predictable classrooms, students also have social workers to talk with,

psychologists on staff, counselors on staff and special education teachers and assistants to

support students. 94 Harrison also has mental health providers on site that families can

choose to connect with, as well as the ability to access psychiatrists from Fairview-

University Hospital if families choose to do so.95

              5.      Student’s Program at Harrison.




90
   T.870, ll.14-21; T.155, ll.21-25; T.156, ll.1-10.
91
   T.781-82.
92
   T.871, ll.14-25; T.872, ll.1-10.
93
   T.877, ll.13-16.
94
   T.877.
95
   T.55-56; T.878, ll.1-18.
                                                                                            15
       EK began his ninth grade year in the regular high school classrooms.96 He had a

short period of appropriate behavior and learning but then returned to bullying and

teasing others, disrupting the classroom, being verbally and physically inappropriate.

EK’s IEP included long term reinforcement for behavior such as tangible rewards as well

as immediate praise and feedback.97

       In response to EK’s behavior and academic needs, before winter break, he was

moved to Ms. Kristin Spitzner’s and Mr. Norris Anderson’s classrooms.98 Unlike the

typical high school schedule at Harrison, students in those classrooms switched classes

only once per day from Ms. Spitzner’s homeroom to Mr. Anderson’s room.99 Fewer

transitions during the day created less opportunity for students like EK to become

engaged in behavior that detracted from learning. EK’s classroom had three to four

students, one licensed teacher and three special education paraprofessionals.100 His

classrooms were designed specifically for students with lower cognitive functioning like

EK.101 Some of the students, like EK, had ASD or ASD-like behaviors and needs.102 The

classrooms had adapted curriculum to meet those students’ lower cognitive abilities.103




96
   T.574, ll.15-23.
97
   T.598; see also Ex. 261, p.381[IEP 2013].
98
   T.83, l.16 - T.84, l.9.
99
   T.81; T.82, ll.7-11; T.576, ll.15-18; T.595, ll.3-10.
100
    T.81; T.84, ll.3-4.
101
    T.72, ll.2-22.
102
    Id.
103
    T.89, ll.2-7.
                                                                                          16
        EK began to have more progress in school after the classroom was changed near

the winter break.104 According to his skills worker (a non-school staff behavioral

consultant provided by the County case management), Nicholas Puchalski, EK was able

to trust the Harrison staff and Mr. Puchalski wrote that EK was making progress.105 Ms.

Wilson testified that EK began making progress after winter break and that he made

specific progress in April of 2014 through the rest of the school year.106 The Parent also

testified that when Harrison moved EK to the smaller classrooms it was a better fit.107 At

an IEP team meeting on January 21, 2014, Mr. Puchalski reported that Harrison was the

only school that could accommodate EK’s needs.108

              6.     Placement at Prairie Care by Parent.

        EK was placed by his mother in a partial hospitalization program at Prairie Care

from February 25, 2014 to March 12, 2014. EK was demitted from that program because

of his aggressive behaviors, (T. 579, ll. 2-14),109 and returned to Harrison on April 8,

2014.

              7.     Return to Harrison in April 2014.




104
    T.364, ll.8-18.
105
    T.332, ll.5-9; Ex. 63.
106
    T.364, ll.8-18.
107
    T.422-423.
108
    Ex. 63.
109
    EK’s mother initially testified that he was removed because the other children there
were more severe than EK. T.400, ll.1-13. Every other witness testified that EK was
demitted from Prairie Care for fighting with other children. The Parent later
acknowledged that EK was demitted from Prairie Care because of being physically
aggressive. T.407, ll.220-225.
                                                                                           17
       When EK returned to Harrison, he had no further suspensions from April 8, 2014

to the end of the school year.110 Mr. Kurtz testified that EK made strides in socialization

including mediating conflicts he had with other students instead of the situation

escalating as it had before. EK began to make the decision to remain at school after a

conflict instead of going home. EK began to make more friends.111 Mr. Kurtz also

became the point person for EK’s mother to provide her with information about EK’s

behaviors, progress and needs. This change helped to provide clearer communication

with the Parent and may have impacted EK’s behaviors as well.

       EK also made academic progress. Mr. Norris Anderson was one of his teachers in

the self-contained classrooms and he testified that EK’s greatest progress was in English

and reading. EK was meeting and exceeding his reading fluency goals, he also was one of

the most willing students in the class to read aloud, and enjoyed taking that role.112 Mr.

Anderson further testified that during the fourth quarter of 2014, EK met all of the SAIL

criteria except for the on task portion, which was still at 80%. This was an increase in

SAIL criteria and participation in Mr. Anderson’s classroom.113 EK was not suspended

when he was being instructed by Mr. Anderson and this was an increase in success for

him.114

       The table below reflects data as found in the exhibits admitted at hearing and

shows an increase in all school appropriate behaviors.

110
    T.827, l.9 - T.828, l.1; Ex. 6; Ex. 123.
111
    T.650, l.23- T.651, l.23.
112
    T.769, l.20- T.770, l.14.
113
    T.773, l.23- T.774, l.10.
114
    T.779, ll.5-12.
                                                                                             18
Exhibit Description           Page No.     Speaking    Acting    In    Learning
No.                                                              Place
D 13    IEP 10/10/12          P. 54        76%         89%       88% 71%
        SPAN Setting III/
        grade 8
D 15    Progress report       P. 65        74%         86%       87%    66%
        12/3/2012
        SPAN /grade 8
D 25    3/15/2013              P. 89       74%         82%       82%    62%
        (beginning referral to
        Setting IV)
D 27    FBA 4/8/2013           P. 125      74%         85%       85%    66%
        SPAN grade 8
D 34    Progress report        P. 160      90 %      97 (one      85%   72%
        4/9/13 River Bend                  (range)   incident
        Setting IV                                   since
                                                     coming to
                                                     River Bend
                                                     of throwing
                                                     a desk)
D 48    10/8/203 9th grade    PP.181,183   “maintain “learning to
        change to smaller                  good      ask for a
        room discussed with                behavior break”
        parent                             for large
                                           chunks of
                                           the day
                                           per point
                                           sheet”
D 51    11/7/13 progress      P.188        97%       95%          86%   62%
        report/9th grade
        Harrison
D 63    1/21/14               P. 200 In    Angela
                              Spitzner/A   Davis
                              nderson’s    reporting
                              class        he has
                                           made
                                           “huge
                                           gains”
D 94    4/28/14 progress      P. 267       94%         91%       93%    82%
        report
D 123   IEP 5/1/2014 9th      P. 6- First  96%         96%       92%    73%
        grade Setting IV      semester 9th

                                                                              19
                                 grade
D 123     ““                     P. 6 –      95%            94%            94%     85%
                                 Second
                                 semester
                                 (no
                                 suspensions
                                 from return
                                 on 4/9/2014
                                 to
                                 5/5/2104)

        Dr. Wiik’s Evaluation of EK. Dr. Kristin Wiik, a neuropsychologist who worked

with EK through Hennepin County Medical Center, conducted an evaluation of EK in

May of 2013. She found that he had an IQ of 61, a mood disorder, oppositional defiant

disorder, mild intellectual disability and Autism Spectrum Disorder by history.115 She did

not conduct academic testing except for a screening of math and reading.116 She opined

that “EK’s recent placement in a self-contained, Federal Level IV setting may be

beneficial in providing more individual attention and supports for behavior

management.”117 Dr. Wiik made a number of recommendations for programming for

EK.118 They included providing explicit rules, frequent positive reinforcement for

appropriate behavior, social skills instruction, close monitoring to help him stay on task

and a structured environment where works for a period of time and then takes breaks.119




115
    Ex. 270, p.428.
116
    T.504; T.511, ll.2-8.
117
    Ex. 270.
118
    Id. at 428-429.
119
    Id.
                                                                                             20
Dr. Adams testified that all of those recommendations were in place for EK at

Harrison.120

       Dr. Wiik testified that with EK’s level of needs, it was challenging to program

educationally for him.121 She testified that traditional social skills teaching might be

difficult for EK given his cognitive limitations and it would have to be tailored for him.122

She testified that EK’s standard scores on academic tests were above what one would

expect given his IQ of 61.123 Dr. Wiik’s evaluation was consistent with the District’s

October 2011 evaluation of EK.124

III.   THE SUSPENSIONS DID NOT VIOLATE THE IDEA

       A.      School Officials Have Authority to Suspend a Child with a Disability.

       School officials have authority to suspend students for violation of reasonable

school rules as long as procedural requirements are met when doing so. Minn. Stat. §

121A40 to 121A.56 (Minnesota Pupil Fair Dismissal Act); Goss v. Lopez, 419 U.S. 565,

576, 95 S. Ct. 729, 737, 42 L. Ed. 2d 725 (1975). In the IDEA, Congress made clear that

school officials retain their authority to suspend students, even students with disabilities.

“School personnel may consider any unique circumstances on a case-by-case basis when

determining whether to order a change in placement for a child with a disability who

violates a code of student conduct.”20 U.S.C. § 1415(k)(1)(A).



120
    T.120, ll.16-24.
121
    T.517, ll.1-6.
122
    T.520, ll.14-22.
123
    T.540, ll.21-24, Ex. 432.
124
    Ex. 114, Ex. 270.
                                                                                            21
       B.     Congress Limited School Official’s Authority to Suspend Students in
              Only Three Respects.

       School officials’ authority to suspend students for violations of school rules has

been restricted by Congress in the IDEA in only three ways. The first restriction pertains

to length. The second restriction pertains to procedural requirements which must be

followed. The third restriction pertains to FAPE.

              1.      Restriction As To Length.

       The first restriction on school officials’ authority to suspend students pertains to

the length of a suspension. Under the IDEA, school officials may not issue a suspension

which runs more than ten consecutive school days for a single behavior incident. 20

U.S.C.A. § 1415(k)(1)(C); 34 C.F.R. 300.350(b). This limitation applies only where two

circumstances are present: (1) the student is a child with a disability, and (2) the behavior

for which suspension is proposed is behavior which is a manifestation of the student’s

disability. 20 U.S.C. 1415(k)(1)(C); 34 C.F.R. 300.350((c). Both conditions must be

present for the restriction to apply.

       If the student is a child with a disability but the behavior for which suspension is

proposed is not a manifestation of the child’s disability, the IDEA does not limit school

officials’ authority to issue a suspension which runs for more than ten consecutive school

days. 20 U.S.C.A. § 1415(k)(1)(C); 34 C.F.R. 300.350(c).

              2.      Restriction As To Procedural Requirements.

       The second restriction on school officials’ authority pertains to procedures which

must be followed. Under the IDEA, school officials’ retain their authority to issue a


                                                                                              22
series of short suspensions in response to separate behavior incidents by the same child.

There is no limitation on the number short suspensions a disabled student may receive in

one school year. This is true even if the series of short suspensions results in a “change

of placement.” 125 Both the IDEA and the federal regulations are clear that school

officials have authority to issue a series of short suspensions which result in a “change of

placement.” The IDEA provides:

       Placement in alternative educational setting
       (1) Authority of school personnel
       (A) Case-by-case determination
       School personnel may consider any unique circumstances on a case-
       by-case basis when determining whether to order a change in
       placement for a child with a disability who violates a code of student
       conduct.

20 U.S.C.A. § 1415(k)(1)(A) (emphasis provided). The federal regulations similarly

provide:

       Case-by-case determination. School personnel may consider any
       unique circumstances on a case-by-case basis when determining
       whether a change in placement, consistent with the other
       requirements of this section, is appropriate for a child with a
       disability who violates a code of student conduct.

34 C.F.R. § 300.530 (emphasis provided). Thus, both the IDEA and the federal regulation

make it clear that school officials retain authority to issue a series of short suspensions

that constitute a “change of placement” for the disabled child. A “change of placement”




125
   34 C.F.R. § 300.536 sets out the conditions which must exist for a series of short term
suspensions to amount to a “change of placement.”

                                                                                              23
occurs when the series of short suspensions accumulate to more than ten school days in a

school year and a number of other factors are met.126

         While it is clear that school officials retain their authority to make a “change of

placement” through a series of short term suspensions, it is equally clear that school

officials may not simply suspend a disabled student over and over without also

addressing the behavioral needs which gave rise to the suspensions. When the days of

suspension accumulate to more than ten school days in a school year and the other

conditions which create a “change of placement” are present, school officials must see


126
      The regulations provide:

      For purposes of removals of a child with a disability from the child's
      current educational placement under §§ 300.530 through 300.535, a
      change of placement occurs if—
         (a)(1) The removal is for more than 10 consecutive school days; or
            (2) The child has been subjected to a series of removals that
            constitute a pattern—
                (i) Because the series of removals total more than 10 school
                days in a school year;
                (ii) Because the child's behavior is substantially similar to the
                child's behavior in previous incidents that resulted in the series
                of removals; and
                (iii) Because of such additional factors as the length of each
                removal, the total amount of time the child has been removed,
                and the proximity of the removals to one another.

34 C.F.R. § 300.536(a). It is the school district which makes the determination whether a
pattern of removals creates a “change of placement”:

         The public agency determines on a case-by-case basis whether a
         pattern of removals constitutes a change of placement.

34 C.F.R. § 300.536(b)(1). The school district’s determination is subject to review
through due process and judicial proceedings. 34 C.F.R. § 300.536(b)(2).

                                                                                               24
that certain procedures are followed. These procedures are in place to ensure that the

needs of the disabled student are met. Again, it is not a violation of the IDEA for school

officials to issue a series of short suspensions in response to a series of behavior

infractions, even if the series of suspensions totals more than ten school days in a school

year and constitutes a “change of placement” for a child with a disability. Going over ten

days in situations which constitute a “change of placement” merely triggers a number of

procedural steps which the school district is required to follow.

         The first step triggered is the requirement that a manifestation determination be

conducted. 20 U.S.C. § 1415(k)(1)(C); 34 C.F.R. 300.350(e). The manifestation

determination must be made “within 10 school days of any decision to change the

placement of a child with a disability because of a violation of a code of student

conduct.”127 20 U.S.C. § 1415(k)(1)(E)(i) (emphasis provided). Again, it is important to


127
      The relevant statutory language is at subsection (k)(E)(i):

      Manifestation determination
      (i) In general
      Except as provided in subparagraph (B), within 10 school days of any
      decision to change the placement of a child with a disability because of
      a violation of a code of student conduct, the local educational agency,
      the parent, and relevant members of the IEP Team (as determined by
      the parent and the local educational agency) shall review all relevant
      information in the student's file, including the child' s IEP, any teacher
      observations, and any relevant information provided by the parents to
      determine--
           (I) if the conduct in question was caused by, or had a direct and
                  substantial relationship to, the child's disability; or
           (II) if the conduct in question was the direct result of the local
                  educational agency's failure to implement the IEP.

20 U.S.C. § 1415(k)(1)(E) (emphasis provided).
                                                                                             25
note that as is evident from this statutory language, Congress expressly contemplated that

school officials would have situations where they would need to use suspensions, even if

those suspensions amounted to a “change of placement.” The manifestation

determination is to be made by “the parent, and relevant members of the IEP Team”. Id.

       Depending on whether the behavior is determined to be a manifestation of the

student’s disability, one of two things may follow. If the behavior is not a manifestation

of the student’s disability, “the relevant disciplinary procedures applicable to children

without disabilities may be applied to the child in the same manner and for the same

duration in which the procedures would be applied to children without disabilities, except

[that the child must be provided educational services.]” 20 U.S.C. § 1415(k)(1)(C).

       If the school district, the parent, and relevant members of the IEP Team determine

that the conduct was a manifestation of the child’s disability, a second procedural step is

triggered. This procedural step requires the IEP team to conduct a functional behavioral

assessment and implement a behavior intervention plan for the child. 20 U.S.C. §

1415(k)(1)(F)(i). If the child already has already had a functional behavioral assessment

and has a behavioral intervention plan, the IEP Team must “review the behavioral

intervention plan” and “modify it, as necessary, to address the behavior.” 20 U.S.C. §

1415(k)(1)(F)(ii). The specific statutory language is as follows:

       (F) Determination that behavior was a manifestation

       If the local educational agency, the parent, and relevant members of
       the IEP Team make the determination that the conduct was a
       manifestation of the child’s disability, the IEP Team shall--



                                                                                          26
              (i) conduct a functional behavioral assessment, and
              implement a behavioral intervention plan for such child,
              provided that the local educational agency had not conducted
              such assessment prior to such determination before the
              behavior that resulted in a change in placement described in
              subparagraph (C) or (G);
              (ii) in the situation where a behavioral intervention plan has
              been developed, review the behavioral intervention plan if the
              child already has such a behavioral intervention plan, and
              modify it, as necessary, to address the behavior.

20 U.S.C. § 1415(k)(1)(F)(ii); See also 34 C.F.R. 300.350(f)(1).

       After the suspension, the child must be returned to the placement from which he

was removed, unless the code of conduct violation involved a weapon, drugs, or serious

bodily injury; or unless the parent and school district agree to a change of placement:

       (iii) except as provided in subparagraph (G), return the child to the
       placement from which the child was removed, unless the parent and
       the local educational agency agree to a change of placement as part
       of the modification of the behavioral intervention plan.

20 U.S.C. § 1415(k)(1)(F)(iii); see also 34 C.F.R. 300.350(f)(1).

       Again, nothing in the IDEA limits school officials’ authority to issue a series of

short term suspensions which accumulate to more than ten school days in a school year,

even if the conditions surrounding the suspensions amount to a “change in placement.”

Congress merely directed that if school officials decide to do so, school officials must

ensure that in addition to responding to the code of conduct violations with suspensions,

they also ensure that the behaviors which gave rise to the infractions are addressed by

conducting or reviewing the student’s functional behavioral assessment and creating or

modifying the behavior intervention plan as needed. 20 U.S.C. § 1415(k)(1)(f)(i)-(iii).
                                                                                            27
The requirement that school officials follow the “change of placement” decision with

creation/review of the functional behavior assessment and creation/modification of the

behavior intervention plan is also reflected in the federal regulations:

       (e) Manifestation determination.
        (1) Within 10 school days of any decision to change the placement
            of a child with a disability because of a violation of a code of
            student conduct, the LEA, the parent, and relevant members of
            the child’s IEP Team (as determined by the parent and the LEA)
            must review all relevant information in the student’s file,
            including the child’s IEP, any teacher observations, and any
            relevant information provided by the parents to determine—
              (i) If the conduct in question was caused by, or had a direct
              and substantial relationship to, the child’s disability; or
              (ii) If the conduct in question was the direct result of the
              LEA’s failure to implement the IEP.
       ...
       (f) Determination that behavior was a manifestation. If the LEA, the
       parent, and relevant members of the IEP Team make the
       determination that the conduct was a manifestation of the child’s
       disability, the IEP Team must—
        (1) Either—
              (i) Conduct a functional behavioral assessment, unless the
              LEA had conducted a functional behavioral assessment
              before the behavior that resulted in the change of placement
              occurred, and implement a behavioral intervention plan for
              the child; or
              (ii) If a behavioral intervention plan already has been
              developed, review the behavioral intervention plan, and
              modify it, as necessary, to address the behavior; and
         (2) Except as provided in paragraph (g) of this section, return the
         child to the placement from which the child was removed, unless
         the parent and the LEA agree to a change of placement as part of
         the modification of the behavioral intervention plan.



                                                                                         28
34 C.F.R. § 300.530 (emphasis provided).

       Congress has not taken away the authority of school officials to suspend students

for violations of the student code of conduct, but Congress has restricted that authority in

terms of length (maximum length of 10 school days per incident), and in terms of the

procedural requirements which must follow any decision to make a “change of

placement” for a child with a disability.

              3.     Restriction As To FAPE.

       The third restriction on school officials’ authority to suspend students under the

IDEA flows from a student’s right to a free appropriate public education. If a student is

removed from school for so many days in a single school year that the student is unable

to make educational progress, there will be a denial of the student’s right to a free

appropriate public education. This makes sense. If school officials repeatedly suspend a

student in response to code of conduct violations and do nothing more, then school

officials are not addressing the student’s behavioral needs in a way that helps the student

access the educational opportunities available to him. This is why Congress put in place

the procedural steps which are triggered when suspensions constitute a “change of

placement.” When these procedural steps are triggered, the school district, the parent,

and relevant members of the IEP team review the functional behavioral assessment and

design changes to the student’s behavioral intervention plan in order to help provide the

supports the student needs to stay in school and access the learning opportunities

available.



                                                                                            29
        In those situations where the school district, the parent, and the IEP team either

fail to review the functional behavior assessment and change the behavioral interventions,

or review the functional behavioral assessment and do not design changes to the

behavioral plan that help the student stay in school and access the educational

opportunities available, the student may suffer a lack of adequate progress in school

because of ongoing suspensions. In these cases, the ALJ may view the facts as a whole

and find that the school district has denied the student a free appropriate public education.

        C.     Minneapolis Complied with the IDEA’s Requirements When It
               Suspended EK.

               1.      Requirement As To Length.

        The IDEA’s restriction as to suspension length is not at issue in the instant case.

EK was not given any suspensions which were for more than ten consecutive school

days.

               2.      Requirement As To Procedures.

        As to the procedural requirements related to a “change of placement,” these

requirements were amply met by Minneapolis as discussed infra. But as an initial matter,

the series of short term suspensions that EK received did not meet the criteria to be a

“change of placement” because the series of suspensions did not have the statutory

hallmarks of a “change of placement.” See C.F.R. 300.536(a)(1)(ii)-(iii). The behaviors

were not “substantially similar,” were not unreasonable in “length,” and were not

temporally “proximate” to one another. Id. A chart summarizing the suspension

information follows:


                                                                                              30
Date          Behavior           Behavior      Suspension   No. of Days    Response/
                                 Type          Time         Since Last     Cumulative
                                                            Suspension     days
9/24/13       Student used       Disruption    1.33 days    (in school
              classroom          to learning                about 1
              phone, calling     for over an                month)
              someone and        hour
              pretended to be
              district
              employee,
              behavior lasted
              over an hour.
              Student told
              staff “I’ll get
              you when I get
              back.”

9/26/2014     Threated to kill   Threat to     1.77          2 days        2.5
              staff, push her    adult                                     cumulative
              out of chair,                                                days/ IEP
              threw water on                                               meeting set
              peer                                                         up /call to
                                                                           home

10/9/2013     Kicked peer        Assault to    1.0          13 days        3.50
                                 male peer                                 cumulative
                                                                           days/ Kurtz
                                                                           called home

11/25/2013    Fight initiated    Assault to  1.67           6 weeks        Satterlie
              by female peer.    female peer                               called home
              Head locked
              female student
              & hit her in
              face

12/9/2013128 Racial remarks      Verbal        1.0           1 week        Kurtz called
             and threats to      harassment                                parent and
             staff (“Bring       of staff/                                 met with

128
   Both Ex. 296, p.502 and Ex. 7, p.33 show that the Student finished the day on
12/9/2013 and was suspended on 12/10/2013.
                                                                                     31
              your white          threw items                                student
              ass”/“want to       at peer                                    before he left
              smack the shit                                                 for the day
              out of you”/
              slammed door
              on staff/threw
              items at peer

12/11/2013    Threats to staff,   Same plus     1.0          1 day
              racial remarks,     letting
              let angry peer      angry peer
              in room/trashed     in
              room

12/12/2013    No incident                                                    Bechel
129
                                                                             called home
                                                                             to process
                                                                             with parent

12/19/2013    Threats to staff    Threat to     1.0          8 days          6.17 days
              when asked to       staff
              work

12/20/2013    No incident                                                    Spitzner
130
                                                                             contacted
                                                                             parent about
                                                                             yesterday’s
                                                                             incident

Second
Semester
1/14/2014     Tried to take       Attempted     2.0          Break until     Ate lunch
              staff phone.        theft/                     1/2/2014. 12    with Kurtz to
              Did well until      property                   days since      get back on
              last period         destruction                last incident   track.
              when he                                                        8.17 days
              flipped desk                                                   Moved to
129
    The Order in error cites 12/12/2013 as an incident; however, Ex. 296, pp.502-503
indicate no incident on that day as does Ex. 7, p.33. The next suspension was instead
12/12/2013. See Ex. 7, p.33, Ex. 296, p.503.
130
    No incident occurred on 12/20/2013. Instead, the Student was suspended on
12/19/2013 for 12/20/2013. See Ex. 7, p.33, Ex. 296, pp.502-503.
                                                                                         32
                                                                               Anderson’s
                                                                               class
                                                                               (D.Exh.63)

2/5/2014       Stole staff        Theft/lying   2.00                           Kurtz met
               phone on 2/4                                                    with student/
               and                                                             manifestatio
               denied/blamed                                                   n meeting set
               peer                                                            for 2/11

2/7/2013       Involved in        Food fight    .33 sent
               food fight                       home for
                                                rest of day
                                                (2 periods)


2/10/2014      Let peer in who Insubordin       .5 sent                        11 days
               was chasing     ation            home for 3
               another                          periods


2/11/2014131 Manifestation                                                     Team
             Meeting                                                           agreed to
                                                                               Kurtz as
                                                                               point person
                                                                               for student
                                                                               and parent

2/12/2014      Threats to peer,   Threats to    1 day                          12 days
               called peer        staff and
               “Down              peers,
               Syndrome           harassment
               Bitch”/ threw      / property
               tables & chairs    destruction




131
    There was no incident on 2/11/2013. Instead, note that Ex. 7 tracks the date of the
incident but the next day there may be an entry for the staff call to home or other activity.
See Ex. 7, p.34 showing incident on 2/10 with Student suspended for 2/11/14 and Parent
called on 2/11/2014. See also Ex. 296, p.507.
                                                                                           33
       First, the behaviors which gave rise to the suspensions were not “substantially

similar” as required for a “change of placement.” See 34 C.F.R. 300.536(a)(1)(ii).

Threatening to kill a staff member (9/26/2013) is not substantially similar to stealing a

cell phone (2/5/2014). Head locking a female student and hitting her in the face

(11/25/2013) is not substantially similar to using the classroom telephone to call someone

while pretending to be a district employee (9/23/2013). Threatening and harassing a peer

calling him “Downs Syndrome” (2/12/2014) is not substantially similar to letting some

angry students into a room to trash the room (12/11/2013). Being involved in a food

fight (2/7/2014) is not substantially similar to getting angry and flipping a desk over

(1/14/2013).

       Second, the length of the removals was reasonable, see 34 C.F.R.

300.536(a)(1)(iii), given that despite the particularly egregious behavior exhibited by EK,

he received no suspension that ran for 10 consecutive days, no suspension that ran for 5

consecutive days, and in fact, EK did not receive even one suspension that ran for 3

consecutive days. Instead, again despite the particularly violent and threatening behavior

exhibited by EK, school officials issued only two suspensions that ran for 2 days, and all

of the rest of the suspensions were for one school day or even less than one school day.

Thus, as to length, this factor for “change of placement” was not met; the suspensions

were very short, reasonable in light of the circumstances, and the maximum length that

EK was out of school was for 2 days, and this occurred on only two occasions during the

entire school year.



                                                                                            34
       By and large the suspensions were also not temporally proximate to one another.

See 34 C.F.R. 300.536(a)(1)(iii). The first suspension occurred during the third week of

September, but the suspension that took EK over ten days did not occur until almost a full

semester later, during the first week of February. When the series of suspensions begins

early in one school semester and runs full well into the second school semester, it is

difficult to say that the suspensions were issued in close proximity. In sum, when

considering the factors of similarity, length, and proximity, it is quite clear that EK’s

suspensions did not amount to a “change of placement.”

       But even if the suspensions amounted to a “change of placement,” school officials

are authorized to make a “change of placement,” and the school officials from

Minneapolis followed IDEA’s requirements when they did so. They conducted the

manifestation determination as required. They reviewed EK’s functional behavior

assessment as required. And they modified his behavioral intervention plan as

appropriate. Specifically, Mr. Kurtz met with EK on February 5, 2012, after EK received

a two day suspension for stealing a staff member’s cell phone and then lying by saying

another student committed the theft. This suspension was the one that took EK’s total

over ten days. The manifestation determination meeting took place within ten days of the

suspension,132 as required by the IDEA. It took place on February 11, 2012. (Ex 276,

Ex. 277) The IEP team reviewed the functional behavioral assessments from 4/8/2013

and 10/14/11 and reviewed EK’s IEP. Id.       They reviewed EK’s behavioral history and


132
   Assuming for the sake of argument that this suspension created a “change of
placement.”
                                                                                            35
discussed current behaviors which were posing difficulties for EK. (Ex. 277). They

discussed strategies such as putting clear expectations on the board, using a verbal or

physical prompt to remind him like nodding head toward door, using positive praise as he

responds well to that, earning extra time on the computer or IPAD and continuing to

work with Mr. Kurtz as that was going well. Id. Ms. Spitzner noted that she was in the

process of creating a new stand-alone behavior intervention plan for EK.133 The team

agreed that Ms. Spitzner should continue to work on a revised the Behavior Intervention

Plan (BIP) to address the behaviors.134 The team also agreed on a plan for the teacher to

call home between 9-11 a.m. to help EK complete homework sent home on days that he

was suspended.135

       The team met again on February 24, 2014, after EK received a one day suspension

for threatening a staff member and calling another student “Down Syndrome.”136 They

conducted a manifestation determination, continued to discuss changes to the behavior

intervention plan, and the “alternative education services” which would be provided to

EK when suspended.137 Id. On February 26, 2014 the District sent the Parent a prior

written notice along with the revised behavior intervention plan.138 The changes the team




133
    Ex. 277.
134
    Id.
135
    Id.
136
    Ex. 278.
137
    Mr. Puchalski testified that EK got homework packets. T.288, ll.22-25. Dr. Adams
testified that homework packets were sent when EK’s cumulative days of suspension
totaled six. T.125, ll.12-13.
138
    Ex. 279.
                                                                                          36
implemented were successful, so much so that EK did not receive even one more day of

suspension for the entire rest of the school year.

       The purposes of the procedural protections which are triggered when school

officials make a “change of placement” is to ensure that school officials are not

responding to code of conduct violations with suspensions alone, but instead are ensuring

that the parent and relevant members of the IEP team review the behavioral assessment

information and make changes to the student’s behavior plan if warranted. That is

exactly what Minneapolis did here. The ALJ’s conclusion that Minneapolis violated the

IDEA was in error.

              3.     Requirement as to FAPE.

       The ALJ found that EK made educational progress and was provided a FAPE by

Minneapolis in both 8th and 9th grade. (Decision, p. 19, Conclusion of Law 7) Although

the ALJ determined that the suspensions “harmed” EK, there is no dispute that EK was

provided a FAPE. As discussed below, every suspension can be said to “harm” a student,

but that is not the same as a denial of FAPE. The ALJ concluded that Minneapolis

provided EK a FAPE, and neither the Party has appealed that part of the ALJ’s decision.

V.     THE ALJ COMMITTED AN ERROR BY AWARDING COMPESNATORY
       EDUCATION WHERE THERE WAS NO DENIAL OF FAPE

       Compensatory education services are available when a school district fails to

provide a free appropriate public education. Miener By & Through Miener v. State of

Mo., 800 F.2d 749, 753-54 (8th Cir. 1986)(“Accordingly, we hold that the plaintiff is

entitled to recover compensatory educational services if she prevails on her claim that the


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defendants denied her a free appropriate education in violation of the EHA.”). The denial

of FAPE is a prerequisite for an award of compensatory education, and conversely, where

a school district has provided a free appropriate public education compensatory education

is not available. See M.M., 512 F.3d 455, 461.139

       The ALJ erred when he ordered compensatory education services notwithstanding

the fact that Minneapolis had provided EK a free appropriate public education.

Regarding the District’s evaluation of EK, the ALJ concluded:

       The School District’s October 2011 evaluation of Student was
       sufficiently comprehensive to identify all of Student’s special
       education and related service needs, whether or not commonly
       linked to the disability categories in which Student has been
       classified, as required by law. All sources of information for the
       evaluation were documented and carefully considered as required by
       law.

Decision at p. 18, Conclusion of Law Number 3. Regarding the provision of a free

appropriate public education the ALJ concluded:

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    Other Circuit Courts of Appeal also hold that the foundational element to an award of
compensatory education is the denial of FAPE. As the Third Circuit recently concluded,
“[t]he purpose of compensatory education is not to punish school districts for failing to
follow the established procedures for providing a free appropriate public education, but to
compensate students with disabilities who have not received an appropriate education.”
C.W. ex rel. Louise W. v. The Rose Tree Media Sch. Dist., 395 F. App'x 824, 828 (3rd
Cir. 2010). In C.W., the Third Circuit held that where the student “was not denied an
appropriate education, the imposition of compensatory education would not further the
purposes of IDEA, and, therefore, we will also affirm the District Court's refusal to grant
such relief.” Id. at 828. “Compensatory education involves discretionary, prospective,
injunctive relief crafted by a court to remedy what might be termed an educational deficit
created by an educational agency's failure over a given period of time to provide a FAPE
to a student.” G. ex rel. RG v. Fort Bragg Dependent Schs., 343 F.3d 295, 309 (4th Cir.
2003). “Denial of a FAPE is a prerequisite to an award of compensatory services.”
Walker v. D.C., 786 F. Supp. 2d 232, 238 (D.D.C. 2011) citing Reid v. Dist. of Columbia,
401 F.3d 516, 518 (D.C.Cir.2005).

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       The School District provided Student a FAPE during all periods
       relevant here, which was from May 5, 2012, to the present, except
       for those times that Student was placed by his mother at non-District
       day treatment providers.

Decision at p. 19, Conclusion of Law Number 7.

       Despite the fact that Minneapolis had provided EK a free appropriate public

education during both school years, the ALJ ordered the District to provide EK

compensatory services in the form of retaining Dr. Kristen Wiik to assist the IEP team

during the 2014-2015 school year:

       The School District unilaterally changed Student’s placement
       through a pattern of suspensions and exclusions that totaled more
       than ten school days in one school year that caused Student a loss of
       education benefit. Student is entitled to compensatory education to
       compensate him for that loss.

Decision at p. 19, Conclusion of Law Number 9. The ALJ’s award of compensatory

education was an error and is not supported by the law.

       The Eighth Circuit Court of Appeals decision in M.M. ex rel. L.R. v. Special Sch.

Dist. No. 1, 512 F.3d 455, 460 (8th Cir. 2008) is controlling in this case. M.M. was a

student with significant behavioral needs and she was suspended more than ten school

days during the 2003-2004 school year and was also administratively transferred to a

different school against her parent’s wishes following one of the suspensions. After

reviewing the administrative record, the district court found that during the 2003-04

school year M.M. was suspended for a minimum of sixteen (16) days. M.M. v. Special

Sch. Dist. No. 1, No. CIV 05-2270 RHK/RLE, 2006 WL 2571229, at *22 (D. Minn. Sept.

5, 2006) rev'd sub nom. M.M. ex rel. L.R. v. Special Sch. Dist. No. 1, 512 F.3d 455 (8th


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Cir. 2008)(“As such, the Record demonstrates that M.M. was suspended for a minimum

of sixteen (16) days during the 2003-04 school year”.)(emphasis provided). The district

court concluded that although M.M. made some academic progress, “the suspensions

were numerous enough to impact upon M.M.’s education.” Id. After concluding that the

suspensions had harmed M.M., the district court next looked at whether M.M. was

deprived free appropriate public education.

       Accordingly, while there is certainly evidence that M.M. made
       academic progress during the 2003-04 school year, the ALJ's
       conclusion, that the suspensions were numerous enough to impact
       upon M.M.'s education, is supported by a preponderance of the
       evidence.

       That being said, compensatory benefits are only proper where the
       ALJ “finds that the district has not offered or made available to the
       child a free appropriate public education in the least restrictive
       environment and the child suffered a loss of educational benefit.”
       Minnesota Statutes Section 125A.091, Subdivision 21. Accordingly,
       any award of compensatory benefits must be predicated on a failure
       of the District to satisfy its FAPE obligations.

M.M., 2006 WL 2571229, at *23. The district court went on to review the evidence from

the administrative hearing and concluded that the school district had violated M.M.’s

FAPE rights when it failed to review and revise the student’s IEP following the

suspension that resulted M.M. being administratively transferred. The district court

awarded compensatory education. Id. at 24.

       The Eighth Circuit Court of Appeals reversed the district court. M.M., 512 F.3d at

461. The Court of Appeals held that where the school district had provided a FAPE, it

was an error to award compensatory education services even if the student suffered a loss

of educational benefit as a result of the days of suspension and administrative transfer.

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M.M. 512 F.3d at 461. The Eighth Circuit expressly recognized that any child will suffer

an educational loss when suspended. Id. But an educational loss arising from

suspensions standing alone does not warrant an award of compensatory education

services. Id. The Eighth Circuit held that a denial of FAPE is a prerequisite to an award

of compensatory education services. Id.

      Moreover, the ALJ and the district court applied the wrong legal
      standard in determining that M.M. was denied a FAPE in the 2003–
      2004 school year. A school district meets its IDEA obligations if the
      student's IEP is “reasonably calculated to enable the child to receive
      educational benefits.” Hendrick Hudson Dist. Bd. of Ed. v. Rowley,
      458 U.S. 176, 207, 102 S.Ct. 3034, 73 L.Ed.2d 690 (1982). An IEP
      “need not be designed to maximize a student's potential
      commensurate with the opportunity provided to other children.”
      CJN, 323 F.3d at 638–39 (quotation omitted). Rather, “the
      requirements of the IDEA are satisfied when a school district
      provides individualized education and services sufficient to provide
      disabled children with some educational benefit.” Neosho R–V Sch.
      Dist. v. Clark, 315 F.3d 1022, 1027 (8th Cir.2003) (quotation
      omitted); see Fort Zumwalt Sch. Dist. v. Clynes, 119 F.3d 607, 612
      (8th Cir.1997).

      Though M.M.'s November 2003 IEP was appropriate when adopted,
      the district court upheld the ALJ's conclusion that M.M. “suffered a
      loss of educational benefit” as a result of the subsequent suspensions
      and the transfer to Olson. It is doubtless true that any child suffers a
      loss of educational benefit when suspended, and a transfer caused by
      serious misbehavior cannot be anything but an educational setback.
      Yet M.M.'s year-end progress report stated that she made adequate
      progress on her academic goals during the 2003–2004 school year,
      and a social worker testified that she made behavioral progress after
      her transfer to Olson. Compare CJN, 323 F.3d at 642–43. This is not
      a case like Neosho, where the IEP “did not appropriately address”
      the student's behavior problem. 315 F.3d at 1028. When a child's
      primary disability is a behavioral disorder, the school district does
      not violate IDEA simply because the child failed to achieve the IEP's
      behavioral goals.



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       For these reasons, the award of compensatory special education
       benefits and attorneys' fees for the 2003–2004 school year is
       reversed.

M.M., 512 F.3d 455, 461 (8th Cir. 2008).

       The Eight Circuit Court of Appeal’s decision in M.M. is controlling in the instant

case. The ALJ concluded that EK was provided a free appropriate public education. The

ALJ’s award of compensatory education, therefore, was improper.

       In addition, the ALJ made other errors of law. First, he applied a “ten day rule” or

“ten day threshold”, see Decision at p. 24, as if there were such a rule or threshold in the

IDEA which prohibits school officials from suspending a child with a disability more

than ten school days in a school year. As discussed supra, the IDEA does not restrict

school officials to ten days, but rather requires school officials who make a “change of

placement” to ensure that the parent and relevant IEP team members review the

functional behavior assessment and modify the behavior plan as warranted so that

suspensions are not the sole response to code of conduct violations.

       The second mistake of law the ALJ made was to “prorate” the 13 school days to

19.5 school days per school year. See Decision at p. 24. The ALJ cites no legal authority

for this “proration” and indeed, none exists. The federal regulations define “day,”

“business day,” and “school day.” See 34 C.F.R. § 300.11. The regulations define

“school day” to mean “any day, including a partial day that children are in attendance at

school for instructional purposes.” Id. The federal regulations do not contemplate

prorating school days for any purpose. It is also important to note that even if the IDEA

allowed prorating of school days, the ALJ’s decision to do so was unwarranted and did

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not correspond to the facts in this case. The parent and relevant IEP team members met

on February 11th and again on February 24th to review the functional behavioral

assessments and revise the behavior intervention plan. After the changes were

implemented, EK had no more suspensions for the rest of the year. Therefore, it was an

error for the ALJ not to recognize and account for the positive effects of the revisions to

the behavior plan. The ALJ should not have “prorated” the school days as if these

changes did not take place. Given that EK had no more suspensions after he returned to

Minneapolis from PrairieCare, what is to say he also would not have done as well from

February 24th to April 9th if he had stayed at Minneapolis rather than been placed by his

mother at PrairieCare. The ALJ’s proration of days was unfair to Minneapolis, did not

reflect the facts at hand, and was without support in the law.

VI.    PLAINTIFF’S PETITON FOR ATTORNEY FEES SHOULD BE DENIED

       Plaintiff is not the prevailing party. Plaintiff did not succeed on her claims except

insofar as the ALJ ordered compensatory education services in the form of an order

requiring Minneapolis to retain Dr. Kristen Wiik to work with the IEP team for the 2014-

2015 school year. As discussed supra, the ALJ’s order was in error both factually and in

law. The ALJ’s order should be reversed and accordingly, Plaintiff’s petition for attorney

fees and costs should be denied.140

VII.   CONCLUSION




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    Minneapolis reserves its right to contest prevailing party status and the reasonableness
of the attorney fees and costs if the Court upholds the award of compensatory education.
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      Based on all of the forgoing, Minneapolis Public Schools respectfully requests that

the ALJ’s order of compensatory services be reversed and Plaintiff’s petition for attorney

fees and costs be denied.



                                         Respectfully submitted,

                                         BOOTH LAW GROUP LLC


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